DATECase 4:17-cr-00118-MAC-CAN
           5/9/2019            Document 92 Filed 05/09/19
                                  CASE NUMBER                Page 1 of 1 PageID #: 479
                                                     4:17cr118(1)
LOCATION Video BMT/PLANO                USA          Heather Rattan                Assigned
JUDGE        Marcia Crone               VS           Heather Rattan                Appeared
DEPUTY CLERK Bonnie Sanford
RPTR/ECRO        Ruth Weese                   HOWARD GREGG DIAMOND
TAPE
                                                           Defendant
USPO _Sherry Smith
INTERPRETER:                                            Peter Schulte and Jonathan Apgar
BEGIN 10:13 am / 10:26 am                                 Attorney

                                  VIDEO SENTENCING
X......           Sentencing held

   CT     CUSTODY               FINE             REST                JVTA              SUP/REL               CC/CS   W/CT   SP/ASSESS

  1       240 months                                                                5 years                                   $100.00

  9       120 months                        $3,139.00                               3 years                                   $100.00
          concurrent                                                                concurrent with
          with count 1                                                              count 1




All objections have been resolved.

The court adopts the facts as set forth in the presentence report.

Victim family member Kaylynn Rodes addresses the court.

The court recommends mental health treatment while incarcerated.
The court recommends drug treatment while incarcerated.
The court recommends inmate financial responsibility program while incarcerated.

Govt motion to dismiss remaining counts granted.

Court recommends FCI Ft. Worth, TX.

Defendant remanded to US Marshal.




X......           Dft advised of right to appeal plea and/or sentence, and apply for court appointed counsel.




CRIM 92-118                                              G See reverse/attached for additional proceedings                        Adjourn
